                   Case 2:20-cv-00887-RAJ Document 62 Filed 07/27/20 Page 1 of 5




 1                                                           THE HONORABLE RICHARD A. JONES
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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9   BLACK LIVES MATTER SEATTLE-                         No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                             DECLARATION OF KATHRYN FOREST
     KYASHNA-TOCHA, ALEXANDER                            IN SUPPORT OF PLAINTIFFS’ MOTION
11   WOLDEAB, NATHALIE GRAHAM,                           FOR CONTEMPT
     AND ALEXANDRA CHEN,
12
                              Plaintiffs,
13
              v.
14
     CITY OF SEATTLE,
15
                              Defendant.
16

17
              I, Kathryn Forest, declare and state as follows:
18
              1.       The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
20
              2.       I am a resident of Tacoma and have lived in Washington my whole life. I have a
21
     degree in Special Education, and work as an early interventionist for Pierce County. I am also a
22
     mother.
23
              3.       I am a mother.
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      FOREST DECL. ISO MOT. FOR
                                                                                  Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –1                                   1201 Third Avenue, Suite 4900
                                                                              Seattle, WA 98101-3099
                                                                                Phone: 206.359.8000
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 1            4.       Since the nation began stepping out in support of Black lives following George
 2   Floyd’s murder in May, I have attended a handful of protests in Tacoma. All of these remained
 3   peaceful.
 4            5.       I had not protested in Seattle until July 25, 2020, when a friend of mine invited
 5   me to join her there as part of the “Wall of Moms” group, which originated in Portland, Oregon.
 6   The group has become a means for mothers to more tangibly support the anti-racism, anti-police
 7   brutality movement by shielding other protesters who might be more readily targeted with
 8   aggressive law enforcement tactics.
 9            6.       My friend and I arrived in the Capitol Hill neighborhood of Seattle at around 1
10   p.m., with about an hour to meet other moms and listen to speakers before the protest march was
11   scheduled to begin at 2 p.m. I’m not very familiar with Seattle, but I know that we first gathered
12   near Cal Anderson park.
13            7.       From the time we arrived until about 4:30 p.m., the protest was peaceful and
14   uplifting. We listened to speakers at the park, marched through the city, and then returned to
15   Capitol Hill. Along with the others in the Wall of Moms, I marched at the front of the crowd,
16   enjoying the atmosphere of hope and solidarity.
17            8.       We did not have weapons, we did not destroy any property, and we did not
18   hurt anyone. We posed no threat to anyone. We are moms standing up for racial justice,
19   and exercising our constitutional rights. That’s all.
20            9.       As we re-entered Capitol Hill, I noticed some smoke in the distance behind us, but
21   I didn’t know what it was and didn’t notice any disturbance. At that point, I didn’t think there
22   was any reason to expect a confrontation with police; I expected to complete our march, say
23   goodbye to the people I had met, and head home to Tacoma. As we reached Cal Anderson park
24   at about 4:30 p.m., it seemed like that would be the order of the day, but I suddenly heard
25   explosions.
26

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 1            10.       I had not been aware of a police presence all day. Now, abruptly, law
 2   enforcement emerged in force and began deploying flash grenades indiscriminately into the
 3   crowd. I was stunned. In Tacoma, our protests have always had a visible police presence, but
 4   this felt like they had been hiding or lying in wait until our march concluded, only to attack us.
 5            11.      I was terrified and disoriented by the sudden chaos and the barrage of flash
 6   grenades. My friend told me that we needed to place ourselves between the police and the other
 7   protesters—that’s what the Wall of Moms was there for. I was truly petrified, and honestly do
 8   not think I would have had the courage fulfill that role if it were not for my friend. But she led
 9   me through the crowd, and I followed.
10            12.      We, along with a few other moms, positioned ourselves at the front of the crowd
11   where it now faced a line of cops, who looked extremely aggravated and angry. They were
12   yelling at the crowd and throwing more flash bang grenades, which were hitting people.
13            13.      We linked arms to form our wall. I was between my friend and another young
14   woman, who was shaking in fear. I told her that she shouldn’t stay if she didn’t feel comfortable,
15   but she was determined. I held her hand for a moment to help her through it, as neither of us
16   knew what to expect.
17            14.      The police were lobbing flash bang grenades at our feet. One hit my foot and
18   detonated, causing smoke or gas to rise up around my legs, but thankfully I wasn’t hurt.
19   My friend began kicking them back towards the line of cops, until one detonated at her feet
20   and injured her.
21            15.      We stayed at the front but saw that the police had pulled out their pepper spray
22   cannisters. We raised our umbrellas to shield ourselves and the people behind us. The
23   police began grabbing the umbrellas and trying to wrest them out of our hands, all while also
24   pushing and shoving us back. Our refusal to drop the umbrellas or step back seemed to
25   really anger the officers. They began spraying mace wildly at us and telling us to stay
26   back, but we had not been moving forward.
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 1            16.      I had to peek around my umbrella from time to time to see what was happening;
 2   otherwise, in the chaos, I had no idea what was going on. As I lowered my umbrella briefly, a
 3   cop pepper sprayed me full-on in the face. I was totally incapacitated.
 4            17.      With my eyes, face, and lungs burning, I staggered blindly back and out of the
 5   crowd. I called out to my friend that I’d been hit to let her know that I needed to move to the
 6   sidelines. Neither of us could hear well because of the noise from the flash bangs, and I don’t
 7   know if she heard me. One of the other women from the Wall of Moms grabbed me and took me
 8   aside, where she helped flush out my eyes, and reassured me that she and the others would take
 9   care of me.
10            18.      I was so thoroughly incapacitated that a saline rinse didn’t help; the woman
11   assisting me had to keep helping me retreat as the crowd was gradually pushed further and
12   further back. As we retreated, at least seven to eight other protesters helped rinse my face and
13   eyes, but it still took at least thirty minutes before the intense burning receded enough for me to
14   open my eyes. Because I had to remove my contacts, I was unable to see clearly for the rest of
15   the day.
16            19.      When I was hit with the pepper spray, I lost my friend, and I couldn’t find
17   her again afterwards. Several other women from the Wall of Moms stayed with me as I
18   recovered and tried to help me find her, but we couldn’t. Eventually, six or seven hours
19   later, after waiting all evening, I knew I had to go home and try to reconnect with her the next
20   day. A new friend from the Wall of Moms very kindly drove me back to Tacoma.
21            20.      I’m still in shock from this experience. It was appalling. I have never
22   experienced anything like it. It seemed like the police wanted to attack us. They seemed
23   angry and fixated on hurting us; it was like they wanted to provoke a reaction from the
24   crowd so that they could retaliate. Several officers were jeering, egging us on, and
25   grabbing our umbrellas; they shoved us repeatedly, despite the fact that we were only
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 1   standing there, trying to shield ourselves. I was absolutely petrified and am struggling to
 2   process it all.
 3            21.      I also have not fully physically recovered. I am still coughing from the effects
 4   of the pepper spray.
 5

 6            Executed this 27th day of July 2020 at Seattle, Washington.
 7            I declare under penalty of perjury under the laws of the United States and the State of
 8   Washington that the foregoing is true and correct.
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10                                                                     By:________________________
11                                                                                  KATHRYN FOREST
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